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     Sacramento, CA 95814
 3   916.438.7711 FAX 916.864.1359
 4   Attorney for Defendant
     SERGEY PUKHKAN
 5
 6
 7                         IN THE UNITED STATES DISTRICT COURT
 8                      FOR THE EASTERN DISTRICT OF CALIFORNIA
 9
10   UNITED STATES OF AMERICA,                        No. 2:11-CR-00490 JAM
11                                 Plaintiff,         STIPULATION AND ORDER
                                                      ALLOWING DEFENDANT SERGEY
12          vs.                                       PUKHKAN TO TRAVEL OUTSIDE
                                                      THE EASTERN DISTRICT OF
13   SERGEY PUKHKAN,                                  CALIFORNIA
14                                 Defendant.
15
16          The undersigned parties hereby agree to the following modification to Sergey
17   Pukhkan’s pretrial release conditions:
18          Sergey Pukhkan shall be allowed to travel to and from and remain in the Northern
19   District of California for purposes of employment without prior notification to Pretrial
20   Services. Mr. Pukhan travels one or two days a week to the Bay Area for work with his son.
21
22
23   Dated: January 13, 2012                            Respectfully submitted,
24                                                      /s/ Michael E. Hansen
                                                        MICHAEL E. HANSEN
25                                                      Attorney for Defendant
                                                        SERGEY PUKHKAN
26   ////
27   ////
28   ////


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     Stipulation and [Proposed] Order Allowing Defendant Sergey Pukhkan to Travel
     Outside the Eastern District of California
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 1   Dated: January 13, 2012                       BENJAMIN B. WAGNER
                                                   United States Attorney
 2
                                                   By: /s/ Michael E. Hansen for
 3                                                 ROBERT STEVEN LAPHAM
                                                   Assistant U.S. Attorney
 4                                                 Attorney for Plaintiff
 5
                                          ORDER
 6
           IT IS SO ORDERED.
 7
     Dated: January 13, 2012
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     Stipulation and [Proposed] Order Allowing Defendant Sergey Pukhkan to Travel
     Outside the Eastern District of California
